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                 EXHIBIT D-1
   Summary of Compensation Requested by Project Category
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                                                       EXHIBIT D -1
                          SUMMARY OF COMPENSATION REQUESTED BY PROJECT CATEGORY
                              (See Guidelines C.8. for project category information.)



              PROJECT CATEGORY                       HOURS              FEES         HOURS           FEES
                                                   BUDGETED1         BUDGETED        BILLED       SOUGHT
Asset Disposition                                       150.00        $165,000.00       142.50      $156,972.50
Bankruptcy Litigation                                   500.00        $550,000.00       451.10      $502,238.50
Business Operations                                      20.00        $ 22,000.00        18.50      $ 21,827.50
Case Administration                                      70.00        $ 52,500.00        69.00      $ 44,485.00
Claims Administration/ Objection                         25.00        $ 27,500.00        25.80      $ 28,601.00
Compensation of Prof./Other                              10.00        $ 10,000.00         9.90      $ 9,090.50
Employee Benefit/Pension                                150.00        $180,000.00       133.10      $173,192.50
Executory Contracts                                      25.00        $ 25,000.00        23.10      $ 23,862.50
Financial Filings                                        30.00        $ 36,000.00        30.20      $ 35,607.00
Financing                                                90.00        $ 90,000.00        77.20      $ 88,486.00
General Business Advice                                  15.00        $ 15,000.00        11.10      $ 11,826.50
Insurance Coverage                                        0.00       $       0.00         1.40      $     763.00
Meeting of Creditors                                     10.00        $ 12,000.00         7.90      $ 11,298.50
Operations                                                5.00        $ 5,000.00          3.30      $ 2,563.50
Plan and Disclosure Statement                           500.00        $500,000.00       413.80      $481,072.00
Retention of Professional                                 5.00        $ 5,000.00          4.80      $ 4,670.00
Retention of Prof./Others                                70.00        $ 77,000.00        68.80      $ 73,194.00
Stay Litigation                                          12.00        $ 13,200.00        10.30      $ 12,908.50
Total                                                 1,687.00      $1,785,200.00     1,501.80    $1,682,659.00




   Case Name:                First Guaranty Mortgage Corporation
   Case Number:              22-10584 (CTG)
   Applicant's Name:         Pachulski Stang Ziehl & Jones LLP
   Date of Application:      12/21/2022
   Interim or Final          Final



   1
       If applicable.
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                EXHIBIT D-2
  Summary of Expense Reimbursement Requested by Category
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                                                 EXHIBIT D -2

                   SUMMARY OF EXPENSE REIMBURSEMENT REQUESTED BY CATEGORY
                       (See Guidelines C.8. for project category information.)



                              Expense Category                            Total Expenses
            Bloomberg                                                               $ 139.60
            Conference Call                                                         $ 93.25
            Working Meals                                                           $ 18.15
            Delivery/Courier Service                                                $1,253.39
            Filing Fee                                                              $3,896.00
            Hotel Expense                                                           $ 295.90
            Legal Research                                                          $2,350.38
            Outside Services                                                        $ 546.90
            Court Research                                                          $1,676.50
            Reproduction Expense                                                    $1,583.70
            Reproduction/ Scan Copy                                                 $5,702.40
            Transcript                                                              $2,294.95
            Total:                                                                 $19,851.12




Case Name:             First Guaranty Mortgage Corporation
Case Number:           22-10584 (CTG)
Applicant's Name:      Pachulski Stang Ziehl & Jones LLP
Date of Application:   12/21/2022
Interim or Final       Final
